 

 

Case 1:19-mr-00856-JFR Document 3 Filed 07/24/19 . Page 1 of 2

AO 93 (Rev, 11/13) Search and Seizure Warrant

 

 

for the :
District of New Mexico —[] Mt POre Ly
on CLERK -
In the Matter of the Search of ) matt
(Briefly describe the property to be searched ) a lL
or identify the person by name and address) ) Case No. | her G ”
>
HENRY FELIX, aka "CHATO", who is currently in the )
custody of the United States Marshals Service )

SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located inthe | District of New Mexico

 

 

(identify the person or describe the property to be searched and give its location):

HENRY FELIX, aka "CHATO", who is currently in the custody of the U.S. Marshal within the District of New Mexico.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

The FBI may collect a DNA sample from HENRY FELIX, aka "CHATO" by way of a buccal swab.

YOU ARE COMMANDED to execute this warrant on or before July 31, 2019 _ (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. at any time in the day or night because good cause has been established.

 

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to _ the Honorable John F. Robbenhaar
(United States Magistrate Judge)

 

© Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)

 

 

 

for _ days (not to exceed 30) © until, the facts justifying, the later specific date of
Date and time issued: vin 24 , 2014 4ulY Awa r
4 [o. Ss bean
City and state: Albuquerque, New Mexico John F. Robbenhaar, U.S. Magistrate Judge

 

 

Printed name and title

 
 

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Return
Case No.: Date and timg warrant executed: Copy of warrant and inventory left with:
ofz4ha @ :28Aq|  DererdeasT
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Inventory made in the presence of: “

Uusets Deo P. GARCIA

 

Inventory of the property taken and name of any person(s) seized:

DNA Covered from Derr Dwe ~T
Us. DesTtieT Cov Thon SE USMS carklock,

VIA Buecac SWAB.

 

Certification

 

I declare under penalty of perjury that this inventory is correct and was returned glong with the original warrant to the
designated judge.

pac: 7 / 24/1

 

 

LD Executing officer's signature

Bryan Acee, FBI Special Agent

Printed name and title

 

 

 

 
